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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                         CORPUS CHRISTI DIVISION


MARC VEASEY, et al.,

                      Plaintiffs,

             v.                                Civil Action No. 2:13-cv-193 (NGR)

RICK PERRY, et al.,

                      Defendants.


UNITED STATES OF AMERICA,

                      Plaintiff,

TEXAS LEAGUE OF YOUNG VOTERS
EDUCATION FUND, et al.,
                                               Civil Action No. 2:13-cv-263 (NGR)
                      Plaintiff-Intervenors,

TEXAS ASSOCIATION OF HISPANIC
COUNTY JUDGES AND COUNTY
COMMISSIONERS, et al.,

                      Plaintiff-Intervenors,

             v.

STATE OF TEXAS, et al.,

                      Defendants.
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TEXAS STATE CONFERENCE OF NAACP
BRANCHES, et al.,

                   Plaintiffs,
                                          Civil Action No. 2:13-cv-291 (NGR)
            v.

NANDITA BERRY, et al.,

                   Defendants.


BELINDA ORTIZ, et al.,

                   Plaintiffs,

            v.                              Civil Action No. 2:13-cv-348 (NGR)

STATE OF TEXAS, et al.,

                   Defendants




                         DECLARATION OF JANE HENRICI




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Pursuant to 28 U.S.C. § 1746, I, Jane Henrici, make the following declaration:


I.     Statement of Inquiry


       1.     I have been asked by attorneys with the U.S. Department of Justice to

present evidence from social science research to assist the court in determining

whether low-income Texans face increased burdens when attempting to obtain

photo identification as authorized by Senate Bill 14 (SB 14) and, because the

majority of Texans living in poverty are black and Hispanic, whether low-income

blacks and Hispanics are disproportionately burdened by this law. I have been

compensated at $200 per hour for my work, and have reviewed studies of poverty

in Texas, some of which I authored or co-authored, and examined additional data,

including from the U.S. Census, to assess circumstances faced by low-income

members of racial and ethnic minorities in Texas.


       2.     I have reached the following conclusion: poorer Texans who are

registered voters or eligible to register to vote but do not possess photo

identification acceptable under SB 14 face multiple obstacles in obtaining such

documentation relative to Texans with higher income levels. Poorer Texans who are

black and Hispanic are more likely than those who are white to have unreliable

incomes, live in relative social and economic isolation, have health problems that

limit mobility, and face stigmas associated with their poverty—which compounds

and worsens difficulties securing authorized photo identification in order to vote.

The law disproportionately burdens low-income black and Hispanic Texans.


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II.    Background and Qualifications

       3.     I am an anthropologist with twenty years of professional field

research, policy analysis, publication, and university level teaching experience. I am

an Independent Consultant, Senior Research Affiliate with the Institute for Women’s

Policy Research, and Professorial Lecturer at George Washington University.

       4.     I specialize in issues of poverty as they affect gender, racial and ethnic

groups, and those with special needs such as the elderly and those with disabilities. I

focus in my research, teaching, and consulting on methods to improve opportunities

and reduce obstacles that unequally affect various groups and communities. I have

conducted and directed others in conducting quantitative and qualitative research

in the United States, Latin America, and the Middle East and North Africa.

       5.     I obtained my doctorate in anthropology at The University of Texas at

Austin in 1996, my Master’s degree at the University of Chicago in 1981, and

graduated with my Bachelor’s from the University of Texas at Austin Cum Laude in

1979 with three semesters at Southern Methodist University 1976–1977.

       6.     After completing my doctoral dissertation field research in Peru, I was

contracted as a qualitative ethnographic researcher on different projects to gather

and analyze information concerning race, ethnicity, and experiences of poverty and

marginalization in Texas. I conducted research for these projects in Laredo,

Palestine, and various communities south of Austin.

       7.     After obtaining my doctorate, I was selected to be a Postdoctoral

Research Fellow 1998–2000 at the University of Texas at Austin for “Welfare,


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Children, and Families: A Three-City Study,” a large-scale, longitudinal, and mixed

method research project on the consequences of welfare policy changes begun

nationally in 1996 (in Texas, in 1995) on households, neighborhoods, and

government and nonprofit agencies in Boston, Chicago, and San Antonio.

       8.     Subsequent to my fellowship, I was hired full-time as a research

scientist on the project 2000-2001, and continued during the summers of 2002 and

2003 as a subcontractor. More about my work on this study is described in my CV,

provided as an appendix to this report.

       9.     I taught for seven years in the Anthropology Department at the

University of Memphis. In 2008, I left that teaching position to join the Institute of

Women’s Policy Research, contracted to direct a long-term study of the ongoing

conditions of 184 low-income African American women, former tenants of public

housing, displaced by the flooding of New Orleans in the aftermath of Hurricane

Katrina. We conducted interviews for this study in the womens’ homes post-Katrina

in New Orleans and Baton Rouge, Louisiana and Houston, Texas.

       10.    Additional professional research and analysis experience in Texas that

I have done includes qualitative projects dealing with food stamp use in rural and

urban areas of central Texas and with minority math and science elementary school

education in Laredo, Texas.

       11.    Policy changes I have studied in Texas include, but are not limited to,

the adoption of weekly work hour and parenting class requirements along with 60-

month/5 year lifetime limits for cash welfare receipt; the delinking of cash benefits

from medical coverage; the imposition of sanctions on benefits recipients in the


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form of cutting their child care subsidy, cash assistance, or food stamps for

violations such as unreported asset ownership or missed meetings with

caseworkers; the state-adopted gender-based violence waivers on work

requirements; the mass reductions to professional benefits and employment

caseworker staffing; the contracting of nonprofits for job training programming; and

the demolitions of traditional public housing stock.

       12.    For all of these projects in Texas (1991-2013), I spent substantial

interview and observation hours within the homes, recreational facilities, schools,

stores, churches, child care centers, and social services benefits offices of the

participating low-income families. In addition, I interviewed elementary school

teachers in Laredo, and benefits caseworkers, religious leaders, political

representatives, child care providers, and neighborhood organization

administrators in San Antonio. For my research in Laredo, I lived with two families,

for a period of three-months each (October - December 1991 and January - March

1992), in their homes located in the low-income Hispanic neighborhoods where our

respondents were concentrated.

       13.    I have authored and co-authored reports and publications including

books, book chapters, evaluations, and policy recommendations; prepared grant

proposals and legislative, media, and other communication; served on doctoral,

peer-publication, and grant proposal review committees; delivered invited

academic and public lectures and consulted internationally and domestically on

issues of disparity and development; and mentored students and junior researchers.




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           14.   My edited volume, Doing Without: Women and Work after Welfare

Reform (2006), and the book I co-authored with Ronald Angel and Laura Lein, Poor

Families in America’s Health Care Crisis (2006), have received honors and citations

and application in university coursework. My recent publications include “Doubly

Displaced: Women, Public Housing, and Spatial Analysis after Katrina,” (with Allison

Suppan Helmuth and Angela Carlberg) in The Women of Katrina: How Gender, Race,

and Class Matter in an American Disaster.

           15.   I have received multiple awards and honors, including a Fulbright

Scholar Award, and have been elected multiple times to international professional

offices.

           16.   I am regularly asked to speak on and advise regarding ways to

address issues of poverty and barriers confronted by lower-income individuals,

particularly women of racial and ethnic minorities and those who have health and

disability challenges.

           17.   I am considered an expert in qualitative methods and in the

integrated use of quantitative and qualitative methods of research (generally known

as a mixed method approach). I do technical consulting and training in both, and am

the regular instructor for the graduate course for the Elliott School of International

Affairs at George Washington University in mixed methods.



III.       Sources of Information

           18.   For this report, I reviewed scholarly literature regarding the use of

documents, including those necessary to obtain government services and benefits,


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by low-income minority citizens and particularly those living in Texas. I also

examined demographic data concerning minorities and poverty in Texas, and

reviewed all interview data from the two large-scale longitudinal projects in which I

have conducted research in Texas.

       19.    This mixed method approach to data collection and analysis has

increasingly become regarded by policy experts as superior to either quantitative or

qualitative alone for large-scale and in-depth examinations of lower income

households and populations 1 as well as “street level” implementation of legislation

and policy. 2 In particular, mixed method approaches are valued for assessing issues

of poverty and economic development among diverse racial and ethnic groups. 3



1 Donna M. Mertens, Katrina L. Bledsoe, Martin Sullivan, and Amy Wilson.

“Utilization of Mixed Methods for Transformative Purposes,” In Abbas Tashakkori
and Charles Teddlie (eds.), SAGE Handbook of Mixed Methods in Social & Behavioral
Research, 2nd Edition, pp. 193 – 214 (Thousand Oaks, CA: SAGE Publications, 2010).

2 Evelyn Z. Brodkin. “Accountability in Street-Level Organizations,” International

Journal of Public Administration. 31: 317 – 336 (2008).

3 Kathryn Edin and Laura Lein. Making Ends Meet: How Single Mothers Survive

Welfare and Low-Wage Work (New York, NY: Russell Sage Foundation, 1997); Frank
Munger (ed.), Laboring Below the Line: The New Ethnography of Poverty, Low-Wage
Work, and Survival in the Global Economy (New York, NY: Russell Sage Foundation,
2002); Steve Olson (ed.) Toward an Integrated Science of Research on Families
(Washington, DC: Committee on the Science of Research on Families, Board on
Children, Youth, and Families, Institute of Medicine and National Research Council
of the National Academies, 2011); Susan J. Popkin, Laura E. Harris, and Mary K.
Cunningham. Families in Transition: A Qualitative Analysis of the MTO Experience,
Final Report (Washington, DC: U.S. Department of Housing and Urban Development,
Office of Policy Development and Research and Abt Associates, Inc., 2002); Martín
Sánchez-Jankowski. Cracks in the Pavement: Social Change and Resilience in Poor
Neighborhoods. (Berkeley, CA: University of California Press, 2008); U.S. Department
of Housing and Urban Development. “Mixed-Income Community Dynamics: Five
Insights from Ethnography,” Evidence Matters (Spring, 2013); William Julius Wilson.
When Work Disappears: The World of the New Urban Poor (New York, NY: Knopf
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This preference for mixed methods research comes from a long history of evaluating

social science focused on poverty, and efforts to address it. 4 The principal reason for

this preference is that, while survey data box in responses regarding human

experiences, qualitative data open up explanations and provide in-depth

information for those responses. 5 Moreover, within analyses and reporting of

qualitative data, descriptive accounts of individual human experiences and views in

the form of vignettes are valid and standard components. 6

       20.    I also reviewed for this report the texts of SB 14, the Texas

Administrative Regulations related to Election Identification Certificates and the

following websites of the Texas Secretary of State and Texas Department of Public

Safety (DPS): www.votetexas.gov, www.txdps.state.tx.us/DriverLicense, and

http://www.txdps.state.tx.us/driverlicense/electionid.htm as well as the version in

Spanish of this last site, available through a link to an automatically generated

Google translation. 7 In addition, I reviewed the expert report of Dr. Steven


Doubleday Publishing Group, 1996) and More than Just Race: Being Black and Poor
in the Inner City (New York, NY: W.W. Norton and Company, 2010).

4 Alice O’Connor. Poverty Knowledge: Social Science, Social Policy, and the Poor in

Twentieth-Century U.S. History (Princeton, NJ: Princeton University Press, 2001).

5 Donna M. Mertens, Katrina L. Bledsoe, Martin Sullivan, and Amy Wilson.

“Utilization of Mixed Methods for Transformative Purposes,” In Abbas Tashakkori
and Charles Teddlie (eds.), SAGE Handbook of Mixed Methods in Social & Behavioral
Research, 2nd Edition, pp. 193 – 214 (Thousand Oaks, CA: SAGE Publications, 2010).

6 Margaret D. LeCompte and Jean J. Schensul. Analysis and Interpretation of

Ethnographic Data: A Mixed Methods Approach, 2nd Edition, pp. 269 - 275 (Lanham,
MD: AltaMira Press, 2013).

7

http://translate.google.com/translate?depth=1&hl=en&rurl=translate.google.com&
                                           9
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Ansolabehere on the number and racial make-up of Texas voters who lack state or

federal photo identification.

       21.     SB 14 requires that a voter in Texas present one of seven forms of

government-issued photo identification for verification at a polling station before

being allowed to vote on site. The government-issued photo documentation, other

than a citizenship certificate, must be current or have expired within 60 days of

being presented. If voting by mail, no photo identification is required.

       22.     The Texas Secretary of State website lists the seven acceptable forms

of photo identification. If a currently registered voter in Texas lacks all seven valid

forms of photo identification, and has not obtained a disability exemption, the voter

can cast a provisional ballot. For such a provisional ballot to be counted a voter must

show one of the required forms of photo identification to the county registrar within

six calendar days of the election, except in circumstances that involve voters who

have religious objections to being photographed or who lost their identification as a

result of a natural disaster.

       23.     To obtain a disability exemption/exception, adult voters (or their

legal guardians) must supply written documentation from either the U.S. Social

Security Administration or the U.S. Department of Veteran’s Affairs confirming the

disability determination and, for veterans, at least 50 percent impairment, along

with a statement that the voter lacks any one of the allowable government-issued

photo identifications.


sl=en&tl=es&twu=1&u=http://www.txdps.state.tx.us/DriverLicense/electionID.ht
m.


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       24.    In order to vote by mail, and thus not be required to show an

authorized photo identification, a voter must be 65 years or older, disabled, out of

the county on election day and during the period of early voting, or confined in jail

but otherwise eligible. In addition, the person must submit to the proper early

voting clerk a completed and signed application between the 60th to 9th day, or 11th

if election day falls on a Tuesday, before election day or deliver the application

before early voting in person begins.

       25.    Those who otherwise lack one of the specified forms of photo

identification may apply for a Texas Election Identification Certificate (EIC) that, if

issued, will be valid for six years (although EICs for citizens 70 years old and over do

not expire). An EIC may be used only for voting, and can be issued through

submission of an application and supporting documents at a DPS office, an EIC

Mobile Station, or a designated county office in select counties that do not contain a

DPS office. To get an EIC, a person needs to 1) go to the appropriate office during

open hours, 2) complete and verify the application form (DL-14C) affirming that

s/he lacks all other forms of qualifying identification under SB 14, 3) submit

documentation as listed below, 4) have the application form notarized or signed by

an authorized officer of the State of Texas, and 5) have a photograph taken.

       26.    According to the Texas Secretary of State website, an applicant must

show a current voter registration card or be eligible to vote and submit a voter

registration application. Moreover, according to the DPS website, EIC applicants

must show documentary proof of U.S. citizenship and of identity.




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       27.     According to the DPS website, proof of citizenship for obtaining an EIC

requires an (expired) U.S. passport book or card; an original or certified birth

certificate from a U.S. state, territory, or District of Columbia or authorized Report of

Birth issued by the U.S. Department of State; a Citizen or Citizen Resident

Identification Card issued by the U.S. Department of Justice Immigration and

Naturalization Service; 8 or a certificate of U.S. citizenship or naturalization. 9

       28.     Proof of identity documentation for an EIC must be: one piece of

“primary” identification; two “secondary” pieces of identification; or one secondary

plus two “supporting” pieces of identification. Primary identification must be either

a Texas driver license or an authorized personal identification card expired for over

60 days and within two years. Secondary identification has to be a federal, state, U.S.

territory, or the District of Columbia government-issued and recorded original or

certified copy of: a birth certificate, court order with name and date of birth showing

official name and/or gender change, or U.S. citizenship or naturalization papers

without photo identification. Supporting pieces include, but are not limited to, a

voter registration card; school or military record; a U.S. Social Security Card; Form

W-2 or 1099; Medicaid or Medicare card; parole or mandatory release certificate or

offender identification card issued by the Texas Department of Criminal Justice;

Texas driver license or personal identification expired more than two years; and an




8 U.S. Citizen and Resident Citizen ID cards, Forms I-197 and I-179 respectively,

remain valid although are no longer issued.

9 These certificates are issued by the U.S. Department of Homeland Security

Citizenship and Immigration Services.
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unexpired or expired within two years driver license from another U.S. state,

territory, or District of Columbia.

       29.    In other words, to secure and use an EIC, a person must first register

to vote, take the time to learn what is required and gather or obtain copies of the

necessary documentation, find a way to get to a location where EICs are being

issued during the hours that the office is open, wait at that location for whatever

time necessary in order to be served, complete and verify the EIC application, and

bring the EIC at the time of voting.

       30.    Large numbers of low-income black and Hispanic Texans are able to

get by in their daily lives without photo identification. Research performed by Dr.

Steven Ansolabehere for this litigation found that approximately 1.2 million

registered voters in Texas lack an accepted form of federal or state photo

identification as required by SB 14, and black and Hispanic voters are more likely to

lack photo identification than white voters. According to Dr. Ansolabehere’s report,

black voters are roughly twice as likely as non-Hispanic white voters to lack

authorized photo identification, and Hispanic voters are significantly more likely to

lack photo identification as well.

       31.     As I will describe, low-income Texans experience difficulties

obtaining, keeping, replacing, and renewing government-issued documents such as

vouchers, certificates, licenses, records, and cards—and the majority of low-income

Texans are black and Hispanic. As Dr. Ansolabehere’s research shows, black and

Hispanic Texans are more likely to not already have a current and, as authorized by

SB 14, appropriate form of photo identification. Low-income Texan voters who do


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not already have photo identification as required by SB 14 will find getting one to be

a burden, and this is a burden that disproportionately impacts minorities in Texas.



IV.    Poverty, Race and Ethnicity, and Photo Identification in Texas

       32.    Poorer Texans will have significant difficulty getting photo

identification if they do not have one already, and blacks and Hispanics are

disproportionately represented among Texans living in poverty. In Texas, poverty is

strongly associated with race and ethnicity, and conditions in which poorer

minorities live and work in Texas affect their ability to obtain and update

government-issued forms of documentation.

       33.    Further, as I will describe in the following sections, poorer blacks and

Hispanics are more likely than other Texans to have unreliable incomes, live in

relative social and economic isolation, have health issues that limit mobility, and

face stigmas associated with their poverty. These problems interact with one

another and make getting and keeping current photo identification as authorized by

SB 14 a burden for poorer African-American and Hispanic Texans not already in

possession of one.

       34.    According to a 2014 analysis 10 of the most recent income levels from

the U.S. Census Bureau Current Population Survey for Texas (2011-2012), roughly

one-fourth (23 percent) of the state population lives at and below 100 percent of the

Federal Poverty Level, as defined by the U.S. Department of Health and Human

Services. This poverty is spread unevenly across Texas among those of different race

10 The Kaiser Family Foundation. State Health Facts (2014).

http://kff.org/statedata/.
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and ethnic groups. Using the U.S. Census categories for race and ethnic groups, the

percentage of whites (12 percent) who live in poverty is less than half that of blacks

(29 percent) or Hispanics of any race (33 percent) in Texas. In contrast, the

percentage of all other races and ethnic groups in Texas who live at that level of

poverty (14 percent) is closer to that of whites (Figure 1).




                   Figure 1: Texas Poverty Rate by
                     Race/Ethnicity, 2011-2012
                                          33%
                          29%


                                                                           23%



                                                           14%
        12%




        White            Black          Hispanic          Other            Total


Source: Urban Institute and Kaiser Commission on Medicaid and the Uninsured
estimates based on the Census Bureau's March 2012 and 2013 Current Population
Survey (Annual Social and Economic Supplements).


Unreliable Income Burdens

       35.      Among Texans in poverty, income is not only low, but unreliable. The

lack of a consistent and reliable income affects the decisions that poorer blacks and




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Hispanics, the majority of poorer Texans, must make regarding their time

expenditure, transportation use, residential location, and health care.

       36.    Most of the job opportunities that poorer Texans can find pay

relatively low hourly wages and have few if any accompanying benefits. To earn an

income sufficient to shelter and feed an adult, much less a family, even in less

expensive parts of Texas often requires multiple jobs. In addition, many jobs are

only part-time or temporary, sometimes seasonal, and lack the option for the

employee to have a regular schedule: these conditions also make income

unsteady. 11 Multiple jobs combined with irregular hours of employment make

planning for appointments or meetings outside of work, particularly during open

office hours, problematic 12—and that will include the scheduling necessary to

obtain photo identification authorized by SB 14.



11 Ronald Angel, Laura Lein, and Jane Henrici. Poor Families in America’s Health Care

Crisis: How the Other Half Pays, pp. 101 – 128 (New York: Cambridge University
Press, 2006); Beth Bruinsma. “Flexible Families: Low-Income Women Negotiating
Employment Opportunities, Wages, and Child Care Needs in San Antonio,” in Jane
Henrici (ed.) Doing Without: Women and Work after Welfare Reform, pp. 40 – 63
(Tucson, AZ: University of Arizona, 2006); Jane Henrici, Allison Suppan Helmuth and
Angela Carlberg. “Doubly Displaced: Women, Public Housing, and Spatial Analysis
after Katrina,” in Emmanuel David and Elaine Enarson (eds.), The Women of Katrina:
How Gender, Race, and Class Matter in an American Disaster, pp. 142 – 154
(Nashville, TN: Vanderbilt University, 2012); Jane Henrici and E. Carol Miller. “Work
First, Then What? Women and Job Training after Welfare Reform,” in Jane Henrici
(ed.) Doing Without: Women and Work after Welfare Reform, pp. 64 – 80 (Tucson,
AZ: University of Arizona, 2006); Deanna Schexnayder et al. Texas Families in
Transition/Surviving without TANF: An Analysis of Families Diverted from or Leaving
TANF, pp. 67, 91, and 109 (Austin, TX: Ray Marshall Center for the Study of Human
Resources, the University of Texas at Austin and the Center for Innovative Projects
for Economic Development, Prairie View A&M University, 2002).

12 Holly Bell. “Putting Mothers to Work: Caseworkers’ Perceptions of Low-Income

Women’s Roles in the Context of Welfare Reform,” in Jane Henrici (ed.), Doing
                                          16
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       37.    Moreover, as a result of their unreliable incomes, low-income Texans

do not always have access to credit and to formal financial services such as checking

accounts. Relying on cash loans through friends and family and check cashing

through local stores increases income instability. At the same time, relying on such

transactions can allow those Texans to get by without the forms of photo

identification that regular banking might demand—and that SB 14 requires. 13

       38.    Finally, unreliable and irregular wage work and other income also

affect the cost of taking the time to locate and bring the requisite papers and identity

cards, travel to a processing site, wait through the assessment, and get photo

identification. This is because most job opportunities do not include paid sick or

other paid leave; taking off from work means lost income. Employed low-income

Texans not already in possession of such documents will struggle to afford income

loss from the unpaid time needed to get photo identification.

       39.    In fact, the time expenditure needed for obtaining a record or form of

identification can be of questionable benefit and significant risk to a low-income

person in Texas, unless that expenditure is clearly aimed toward the betterment of a

child. While low-income women and men living in Texas will add, sometimes

significantly, to their own hardships and risks in their effort to cover costs that

could help their children, poorer minority adults are often reluctant to invest time


Without: Women and Work after Welfare Reform, pp. 155 – 171 (Tucson, AZ:
University of Arizona, 2006).

13 Laura Lein, Alan Benjamin, Monica McManus, and Kevin Roy. “Without a Net,

Without a Job: What’s a Mother to Do?,” in Jane Henrici (ed.), Doing Without: Women
and Work after Welfare Reform, pp. 23 - 39 (Tucson, AZ: University of Arizona,
2006).
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and other resources into tasks not directly related to that sort of outcome or

objective. 14

        Isolation Burdens

        40.     Related to their unreliable incomes, poorer Texans face troubles both

in getting around and in finding a place to stay. Social and physical isolation related

to transportation and housing issues interact with other problems to present a

barrier that low-income black and Hispanic Texans in particular face in securing

photo identification acceptable under SB 14.

        41.     The majority of the blacks and Hispanics living in poverty about

whom I have conducted research across Texas either walk and, where buses are

available, take a bus or series of buses to get around. Most respondents are not car

owners; those who own vehicles often own ones that fail to run reliably. 15 Thus,

poorer minority Texans might not need to possess or renew a Texas driver license

14 Beth Bruinsma. “Flexible Families: Low-Income Women Negotiating Employment

Opportunities, Wages, and Child Care Needs in San Antonio,” in Jane Henrici (ed.)
Doing Without: Women and Work after Welfare Reform, pp. 40 – 63 (Tucson, AZ:
University of Arizona, 2006); Jane Henrici, Allison Suppan Helmuth and Angela
Carlberg. “Doubly Displaced: Women, Public Housing, and Spatial Analysis after
Katrina,” in Emmanuel David and Elaine Enarson (eds.), The Women of Katrina: How
Gender, Race, and Class Matter in an American Disaster, pp. 142 – 154 (Nashville, TN:
Vanderbilt University, 2012); Debra Skinner, William Lachicotte, and Linda Burton.
“The Difference Disability Makes: Managing Childhood Disability, Poverty, and
Work,” in Jane Henrici (ed.), Doing Without: Women and Work after Welfare Reform,
pp. 113 – 130 (Tucson, AZ: University of Arizona, 2006).

15 Ronald Angel, Laura Lein, and Jane Henrici. Poor Families in America’s Health Care

Crisis: How the Other Half Pays, pp. 79 – 100 (New York: Cambridge University Press,
2006); Jane Henrici, Allison Suppan Helmuth and Angela Carlberg. “Doubly
Displaced: Women, Public Housing, and Spatial Analysis after Katrina,” in Emmanuel
David and Elaine Enarson (eds.), The Women of Katrina: How Gender, Race, and Class
Matter in an American Disaster, pp. 142 – 154 (Nashville, TN: Vanderbilt University,
2012).


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and, as will be discussed below, face mobility and other challenges that affect getting

an EIC.

          42.   Low-income Texans give several reasons for either not owning a

vehicle or keeping one in working order. Based on our research with primarily black

and Hispanic poorer families in San Antonio, my co-authors and I observe that,

“Ownership of a car often represents a burden as much as a useful asset.” 16 Reasons

include: 1) unless an auto is given to them or the resources for it provided,

households in poverty lack the money to purchase, maintain, and insure a car; 17 and

2) poorer black or Hispanic Texans are disproportionately likely, even relative to

other poorer Texans, to have grown up in or near a traditional-style public housing

development that was within walking distance of services, schools, stores, and buses

or collective transit. These families learned to survive without owning a car. 18

          43.   A study of overall transportation expenditures among poor in the

United States based on research in California found that low-income families often

employ complicated strategies in order to afford even minimal mobility. These


16 Ronald Angel, Laura Lein, and Jane Henrici. Poor Families in America’s Health Care

Crisis: How the Other Half Pays, p. 96 (New York: Cambridge University Press, 2006.

17 Laura Lein, Alan Benjamin, Monica McManus, and Kevin Roy. “Without a Net,

Without a Job: What’s a Mother to Do?” in Jane Henrici (ed.) Doing Without: Women
and Work after Welfare Reform, pp. 23 – 39 (Tucson, AZ: University of Arizona,
2006).
18 Ronald Angel, Laura Lein, and Jane Henrici. Poor Families in America’s Health Care

Crisis: How the Other Half Pays, pp. 139 – 146 (New York: Cambridge University
Press, 2006); Jane Henrici, Allison Suppan Helmuth and Angela Carlberg. “Doubly
Displaced: Women, Public Housing, and Spatial Analysis after Katrina,” in Emmanuel
David and Elaine Enarson (eds.), The Women of Katrina: How Gender, Race, and Class
Matter in an American Disaster, pp. 142 – 154 (Nashville, TN: Vanderbilt University,
2012).


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adaptations can include deliberately limiting travel to shorter distances and less

frequent trips. However, even after doing their best to strategize, poorer households

still sometimes have to sacrifice other critical items in their budget—including

food—in order to cover transportation costs. 19

       44.    Some Texan families also forgo vehicle ownership to avoid

undercutting access to means-tested benefits. Many low-income Texans worry they

might need to use supplemental assistance in the future, even if they have not used

it in the past, whether this means subsidized child care, food stamps, subsidized

health coverage, or temporary cash welfare (which, in order to obtain, requires

demonstrating at least part-time work). Texans living in poverty might go through

phases of receiving and not receiving benefits depending on other circumstances in

their lives, such as employment and health. A study of both survey and state

administrative data concerning low-income Texans shows, however, that the effort

required to seek out and obtain such help in Texas can be discouraging. Black and

Hispanic Texans in particular tend to seek cash welfare only in a situation of

unemployment. (Conversely, when employed, black and Hispanic low-income

Texans are more likely than low-income white Texans to leave the welfare rolls.) 20


19 Asha Weinstein Agrawal et al. Getting Around When You’re Just Getting By: The

Travel Behavior and Transportation Expenditures of Low-Income Adults, MTI Report
10-02 (San José, CA: Mineta Transportation Institute, San José State University,
2011).

20 Deanna Schexnayder et al. Texas Families in Transition/Surviving without TANF:

An Analysis of Families Diverted from or Leaving TANF, pp. 91 and 109 (Austin, TX:
Ray Marshall Center for the Study of Human Resources, the University of Texas at
Austin and the Center for Innovative Projects for Economic Development, Prairie
View A&M University, 2002).


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One of the stipulations for determining eligibility to receive certain types of

supplemental assistance is asset ownership; as a result, some poorer Texans

concerned about seeking help at some point, 21 such as through Medicaid, 22 do not

own a car.

       45.    In other words, because of unreliable income burdens, and the

problems and costs associated with car ownership, there are poorer black and

Hispanic Texans who are getting by without owning a vehicle. 23

       46.    At the same time, while a portion of poorer minority Texans are

getting by without a car, doing so is difficult and itself an obstacle to improving their

lives. Public transit in Texas is not an adequate substitute for private vehicle

ownership, 24 and lack of reliable transportation affects poorer Texans’ employment


21 Ronald Angel, Laura Lein, and Jane Henrici. Poor Families in America’s Health Care

Crisis: How the Other Half Pays, p. 96 (New York: Cambridge University Press, 2006);
Jane Henrici, Allison S. Helmuth, Frances Zlotnick, and Jeff Hayes. Women in Poverty
During the Great Recession: Public Benefits Do Not Always Respond to Rising Need,
Variation Across States is Substantial, p. 2 (Washington, DC: Institute for Women’s
Policy Research, 2010).

22 Although Texas does not require families to provide proof of assets when

determining children’s eligibility for Medicaid or the Children’s Health Insurance
Program (CHIP), the state may do so for adults in a household without a dependent,
disabled, or elderly member. (“Texas Medicaid and CHIP Programs,” Georgetown
University Health Policy Institute Center for Children and Families,”
http://ccf.georgetown.edu/programs/tx-mcp/).

23 Deanna Schexnayder et al. Texas Families in Transition/Surviving without TANF:

An Analysis of Families Diverted from or Leaving TANF, p. 57 (Austin, TX: Ray
Marshall Center for the Study of Human Resources, the University of Texas at Austin
and the Center for Innovative Projects for Economic Development, Prairie View
A&M University, 2002).

24 Cf. Tricia Ann Barrow. “An Examination of Urban Public Transportation Equity in

San Antonio, Texas,” M.S. Report (Austin, TX: Department of Community and
Regional Planning, the University of Texas at Austin, 2009).
                                           21
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opportunities and thus their already unsteady incomes. In the statewide study of

poorer Texans mentioned earlier, respondents reported “transportation problems”

as the second most common reason after “child care problems” for not having a job.

Over two-thirds (68 percent) of respondents who had left welfare but remained

unemployed said they lacked fully reliable transportation. Further, the issue varies

by race and ethnicity among poorer Texans: white unemployed respondents were

more likely to have use of a private and reliable vehicle than either Hispanics or

blacks, while blacks were far more likely to suffer unemployment because of a lack

of transportation than Hispanics or whites. 25

       47.     Relying on others who own cars for rides to centers where authorized

photo identification can be made might not be an option either. Geographic

distances in rural and small-town Texas form one obstacle, yet distances in urban

areas of Texas can pose a problem as well. In part as a result of housing reform

policy and the demolition of the preponderance of public housing during the mid-

1990s-2000s, a portion of poorer families making use of housing assistance have

been scattered across Texas cities. 26 In addition, when unable to make regular rent

and utility payments due to irregular employment and limited access to credit or

loans, poorer Texans often abruptly relocate or experience eviction without warning


25 Ibid. pp. 56 – 60.


26 Bruce Katz. “The Origins of HOPE VI,” In From Despair to HOPE: HOPE VI and the

New Promise of Public Housing in America’s Cities, Henry G. Cisneros and Lora
Engdahl (eds.), pp. 15 – 30 (Washington, DC: Brookings Institution Press, 2009);
Lillian M. Salcido. “Looking for Home,” in Jane Henrici (ed.), Doing Without: Women
and Work after Welfare Reform, pp. 83 – 98 (Tucson, AZ: University of Arizona,
2006).


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and get cut off from telephone and internet communication with others. 27 Many

low-income Hispanic and black families in particular have moved out of or been

displaced from their former neighborhoods. As I found in my research, changes and

challenges to housing and communication among low-income minorities across

Texas mean that members of extended families often no longer are able to remain

near one another and help one another out (whether with transportation, shelter,

child care, or loans). 28

       48.     Lack of reliable employment, housing, transportation, and assistance

with these resources from either informal or formal systems create another aspect

of social and economic isolation that especially affects poorer minority Texans who

do not own cars: affording the necessary time to deal with issues that arise in daily

life. Across much of Texas, either walking or taking a bus can cost hours in travel

time to go to and from a child care center, work site, school registrar’s office,

employment office, doctor’s office, or government agency—whether as part of a




27 Ronald Angel, Laura Lein, and Jane Henrici. Poor Families in America’s Health Care

Crisis: How the Other Half Pays, pp. 10 – 12 (New York: Cambridge University Press,
2006).

28 Ibid. p. 6; Jane Henrici, Allison Suppan Helmuth and Angela Carlberg. “Doubly

Displaced: Women, Public Housing, and Spatial Analysis after Katrina,” in Emmanuel
David and Elaine Enarson (eds.), The Women of Katrina: How Gender, Race, and Class
Matter in an American Disaster, pp. 142 – 154 (Nashville, TN: Vanderbilt University,
2012); Lillian M. Salcido. “Looking for Home,” in Jane Henrici (ed.), Doing Without:
Women and Work after Welfare Reform, pp. 83 – 98 (Tucson, AZ: University of
Arizona, 2006).


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daily routine or to obtain the documents necessary to acquire photo identification

as authorized by SB 14. 29

       49.    Income and financial conditions interact with relative geographic and

social isolation and impede access to government-issued documents including an

EIC. Minority Texans living in poverty who are managing to get by without photo

identification are significantly burdened by the requirement to obtain one in order

to vote in person.

       Health Burdens

       50.    Meanwhile, health issues interact with race and ethnicity, poverty,

transportation, and housing in Texas to create additional mobility impediments to

the ability to obtain and renew photo identification. Compared with non-Hispanic

white adults in Texas, minority individuals, particularly those who are low-income,

experience higher levels of health impairment. 30

       51.    Poorer minority Texans also disproportionately struggle with

managing personal or family member disabilities. 31 At the same time, obtaining


29 Holly Bell. “Putting Mothers to Work: Caseworkers’ Perceptions of Low-Income

Women’s Roles in the Context of Welfare Reform,” in Jane Henrici (ed.), Doing
Without: Women and Work after Welfare Reform, pp. 155 – 171 (Tucson, AZ:
University of Arizona, 2006); Jane Henrici, Allison Suppan Helmuth and Angela
Carlberg. “Doubly Displaced: Women, Public Housing, and Spatial Analysis after
Katrina,” in Emmanuel David and Elaine Enarson (eds.), The Women of Katrina: How
Gender, Race, and Class Matter in an American Disaster, pp. 142 – 154 (Nashville, TN:
Vanderbilt University, 2012).

30 Ronald Angel, Laura Lein, and Jane Henrici. Poor Families in America’s Health Care

Crisis: How the Other Half Pays, pp. 79 – 100 (New York: Cambridge University Press,
2006).

31 Deanna Schexnayder et al. Texas Families in Transition/Surviving without TANF:

An Analysis of Families Diverted from or Leaving TANF, p. 58 (Austin, TX: Ray
                                         24
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federal disability status, which can result in a person being eligible for a higher level

of cash assistance than most other social benefits, is an onerous process that

typically requires professional legal assistance; 32 indeed, research finds that a larger

portion of poorer Texans have disabilities than the numbers documented by

government agencies. 33 Research also shows a cyclic problem: a disability can

restrict low-income minority Texans from taking the steps necessary to obtain and

hold onto documents crucial for other benefits that could assist these individuals,

such as housing vouchers or child care subsidies; 34 analogously, getting the

paperwork and going through the process needed for an EIC would present similar

difficulties.


Marshall Center for the Study of Human Resources, the University of Texas at Austin
and the Center for Innovative Projects for Economic Development, Prairie View
A&M University, 2002); Debra Skinner, William Lachicotte, and Linda Burton. “The
Difference Disability Makes: Managing Childhood Disability, Poverty, and Work,” in
Jane Henrici (ed.), Doing Without: Women and Work after Welfare Reform, pp. 113 –
130 (Tucson, AZ: University of Arizona, 2006).

32 Ronald Angel, Laura Lein, and Jane Henrici. Poor Families in America’s Health Care

Crisis: How the Other Half Pays, p. 144 (New York: Cambridge University Press,
2006).

33 Deanna Schexnayder et al. Texas Families in Transition/Surviving without TANF:

An Analysis of Families Diverted from or Leaving TANF, p. 58 - 60 (Austin, TX: Ray
Marshall Center for the Study of Human Resources, the University of Texas at Austin
and the Center for Innovative Projects for Economic Development, Prairie View
A&M University, 2002).

34 Ronald Angel, Laura Lein, and Jane Henrici. Poor Families in America’s Health Care

Crisis: How the Other Half Pays, pp. 164 – 165 (New York: Cambridge University
Press, 2006); Jane Henrici, Allison Suppan Helmuth and Angela Carlberg. “Doubly
Displaced: Women, Public Housing, and Spatial Analysis after Katrina,” in Emmanuel
David and Elaine Enarson (eds.), The Women of Katrina: How Gender, Race, and Class
Matter in an American Disaster, pp. 142 – 154 (Nashville, TN: Vanderbilt University,
2012).


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       52.    Older age can also affect mobility and relative isolation.

Transportation barriers and residential distances—to hospitals and clinics for care

and government agencies to obtain health care coverage—worsen health among

low-income minority Texans, and existing health, disability, and possible age-related

problems further limit their abilities to get to and from sites for photo and other

types of documentation. 35

       Stigma Burdens

       53.    In the United States, in some public discourse, poverty and seeking

assistance to mitigate it have become associated in particular with individuals who

are black and Hispanic. Stigmas regarding presumed usage of social benefits and

other government programs, and the awareness among low-income people of color

of such stigmas and prejudices, further discourage low-income minority individuals

in Texas from seeking out—or getting even when eligible—new documentation or

replacing that which has been lost, destroyed (by fire or flood for example), or

stolen. 36 Such stigmas and prejudices combine with the issues discussed above to

add obstacles at every phase of getting, renewing, and using documents for those

who are low-income Texans. 37 Intentional or not, negative attitudes and resulting


35 Ronald Angel, Laura Lein, and Jane Henrici. Poor Families in America’s Health Care

Crisis: How the Other Half Pays, p. 97 (New York: Cambridge University Press, 2006).

36 Jane Henrici, Allison Suppan Helmuth and Angela Carlberg. “Doubly Displaced:

Women, Public Housing, and Spatial Analysis after Katrina,” in Emmanuel David and
Elaine Enarson (eds.), The Women of Katrina: How Gender, Race, and Class Matter in
an American Disaster, pp. 142 – 154 (Nashville, TN: Vanderbilt University, 2012).

37 Ronald Angel, Laura Lein, and Jane Henrici. Poor Families in America’s Health Care

Crisis: How the Other Half Pays, pp. 25 – 26, 149 –153 (New York: Cambridge
University Press, 2006); Holly Bell. “Putting Mothers to Work: Caseworkers’
                                          26
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behaviors toward individuals because of their race and ethnic group identity form

yet another obstacle for low-income minority Texans to obtaining, and keeping

current, identification and other documents, whether housing vouchers, birth

certificates, medical cards, school records, or an EIC.

       54.    Intentional interference or merely distraction can discourage poorer

minority Texans from completing the steps to obtaining documents. 38 Such

hindrances can arise with the staff or volunteers tasked with determining eligibility,

processing the paperwork to gain records and documentations, or putting into use

various certificates and records. Despite the many service providers across Texas

who do not respond to stigmas or show racial prejudices, 39 and the policymakers

and providers who find ways to ease rather than impede access to documentation


Perceptions of Low-Income Women’s Roles in the Context of Welfare Reform,” in
Jane Henrici (ed.), Doing Without: Women and Work after Welfare Reform, pp. 155 –
171 (Tucson, AZ: University of Arizona, 2006); Alexandra Filindra. “Immigrant
Social Policy in the American States: Race Politics and State TANF and Medicaid
Eligibility Rules for Legal Permanent Residents,” State Politics and Policy Quarterly
13(1): 26 – 48 (2012); Lynn M. Hempel, Julie A. Dowling, Jason D. Boardman and
Christopher G. Ellison. “Racial Threat and White Opposition to Bilingual Education
in Texas,” Hispanic Journal of Behavior Sciences 35(1): 85 – 102 (2012).

38 Ronald Angel, Laura Lein, and Jane Henrici. Poor Families in America’s Health Care

Crisis: How the Other Half Pays, pp. 25 – 26, 149 –153 (New York: Cambridge
University Press, 2006); Jane Henrici. “Agents of Change: Nonprofit Organization
Workers following Welfare Reform,” In Doing Without: Women and Work after
Welfare Reform, pp. 172 – 189 (Tucson, AZ: University of Arizona, 2006); Jane
Henrici, Allison Suppan Helmuth and Angela Carlberg. “Doubly Displaced: Women,
Public Housing, and Spatial Analysis after Katrina,” in Emmanuel David and Elaine
Enarson (eds.), The Women of Katrina: How Gender, Race, and Class Matter in an
American Disaster, pp. 142 – 154 (Nashville, TN: Vanderbilt University, 2012).

39 Holly Bell. “Case Management with Displaced Survivors of Hurricane Katrina: A

Case Study of One Host Community,” Journal of Social Service Research 34 (3): 15 –
27 (2008).


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and thus to opportunities, rights, services, and benefits, 40 problems continue.

Studies going back to at least 1983 confirm that, when tasked with implementing

anti-fraud restrictions, service providers respond by seeking to avoid “errors of

liberality;” 41 in Texas, poll workers and those issuing EICs might be expected to feel

these same pressures. 42


40 A new documentation requirement, for citizenship, was added on to Medicaid and

Children’s Health Insurance (CHIP) programs in 2006; the documentation
requirement created so many difficulties for families and administrators that it was
found to cause enrollment in health coverage to go down (Benjamin D. Sommers.
“Targeting in Medicaid: The Costs and Enrollment Effects of Medicaid’s Citizenship
Documentation Requirement,” Journal of Public Economics, 94: 174 – 182; U.S.
Government Accountability Office [GAO]. Medicaid: States Reported That Citizenship
Documentation Requirement Resulted in Enrollment Declines for Eligible Citizens and
Posed Administrative Burdens. Report to Congressional Requesters, 07-889
[Washington, DC: GAO, 2007]). In 2009, Federal CHIP reform (CHIPRA) addressed
the problem and allowed states to match data between Medicaid-CHIP and other
public benefits programs (Donna Cohen Ross. New Citizenship Documentation Option
for Medicaid and CHIP Is Up and Running: Data Matches with Social Security
Administration Are Easing Burdens on Families and States [Washington, DC: Center
on Budget and Policy Priorities, 2010]). However, Texas opts not to participate in
this data matching that reportedly expedites documentation (“Texas Medicaid and
CHIP Programs,” Georgetown University Health Policy Institute Center for Children
and Families,” http://ccf.georgetown.edu/programs/tx-mcp/) and thus presumably
continues to have a documentation requirement that impedes enrollment.

41 Evelyn Brodkin and Michael Lipsky. “Quality Control in AFDC as an Administrative

Strategy,” Social Service Review. 57 (1): 1 – 34 (1983).

42 Michael Alvarez and Thad E. Hall. “Controlling Democracy: The Principal-Agent

Problems in Election Administration,” Policy Studies Journal. 34 (4): 491 – 510
(2006); Lonna Rae Atkeson, Lisa Ann Bryant, Thad E. Hall, Kyle L. Saunders, R.
Michael Alvarez. “A New Barrier to Participation: Heterogeneous Application of
Voter Identification Policies,” Electoral Studies. 29: 66 – 73 (2010); Thad E. Hall, J.
Quin Monson, and Kelly D. Patterson. The Human Dimension of Elections: How Poll
Workers Shape Public Confidence in Elections. Political Research Quarterly. 62 (3):
507 – 522 (2009); Jason H.T. Karlawish et al. “Identifying the Barriers and
Challenges to Voting by Residents in Nursing Homes and Assisted Living Settings,”
Journal of Aging & Social Policy, 20 (1): 65 – 79 (2008); Antony Page and Michael J.
Pitts. “Poll Workers, Election Administration, and the Problem of Implicit Bias,”
Michigan Journal of Race & Law, 15 (1): 1 – 56 (2009); Gillian E. Piner and Michael D.
                                          28
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       55.    Relevant racial and ethnic stigmas and prejudices persist, despite the

fact that Texas is now a “minority-majority” state. 43 That is, as U.S. Census data from

2012 (Figure 2) shows, the percentage of non-white populations in Texas (55.5

percent) is now greater than that of non-Hispanic white Texans (44.5 percent).




Byrne. “The Experience of Accessible Voting: Results of a Survey among Legally-
Blind Users [in Houston].” In Proceedings of the Human Factors and Ergonomics
Society 55th Annual Meeting, 1686 – 1690 (2011)
http://chil.rice.edu/research/pdf/PinerByrneHFES11.pdf.

43 Ronald Angel, Laura Lein, and Jane Henrici. Poor Families in America’s Health Care

Crisis: How the Other Half Pays, pp. 25 – 26, 149 –153 (New York: Cambridge
University Press, 2006); Jane Henrici. “Agents of Change: Nonprofit Organization
Workers following Welfare Reform,” In Doing Without: Women and Work after
Welfare Reform, pp. 172 – 189 (Tucson, AZ: University of Arizona, 2006).



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                                                                American Indian
                                                               and Alaska Native
                                                                  alone, 1.0%
                                        Black or African
                                        American alone,                  Asian alone, 4.2%
                                            12.3%                       Native Hawaiian
                                                                        and Other Pacific
                                                                         Islander alone,
                                                                              0.1%

             Hispanic or Latino,
                  38.2%

                                                            White alone, not
                                                           Hispanic or Latino,
                                                                44.5%




               Figure 2: Texas Population by Race or Ethnic
                               Group, 2012
Source: U.S. Census Bureau: State and County QuickFacts. Data derived from
Population Estimates, 2012 American Community Survey, 1-Year Estimates




       56.    Low-income minorities struggle more than their fellow Texans with

the need to care for their families, stay employed, afford transportation, and deal

with health problems all while confronting stigmas about poverty and racial

identity. These same factors inhibit their ability to renew any photo documentation

they might have let expire or obtain new documentation 44—even one that does not


44 Ronald Angel, Laura Lein, and Jane Henrici. Poor Families in America’s Health Care

Crisis: How the Other Half Pays, pp. 161 – 167 (New York: Cambridge University
Press, 2006).


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have a direct fee associated with its issuance such as the EIC—if they want to vote in

person.



V. Conclusion


       57.      SB 14 demands that Texans who do not have an updated form of

specified photo identification and who wish to vote in person must obtain one in

order to vote. SB 14 requires these Texans—but not other registered voters—to

spend additional time and resources that poorer minority Texans are unable to

afford to submit paperwork to prove eligibility and obtain such documentation.

Unless a document is intended to help a child, or might serve to directly increase

income, reduce debt, or save on spending, low-income black and Hispanics in Texas

encounter more disadvantages and discouragements than advantages or assistance

with obtaining the paperwork needed for photo identification and obtaining that

photo identification itself.

       58.      At the same time, not having documentation can lead to other

obstacles for individuals and households. 45 Minority Texans who do not have

appropriate records on hand—to prove eligibility for a subsidy, school credit, parole

status, child custody, or work hours completed, for example—face stigmas and

difficulties that interact and multiply. As another researcher has described it, it can




45 Amanda Tillotson and Laura Lein. Lack of Identification and Associated Difficulties:

Results from Study of Austin Panhandlers (unpublished report, authors’
communication, 2014)


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“take ID to get ID” 46 and this, along with the configuration of obstacles that low-

income Texan minorities face, can seem insurmountable. Taken together, multiple

impediments disproportionately affect low-income Texans of racial and ethnic

minorities in their efforts to obtain, renew, and maintain photo identification in

order to vote.

       59.       Poorer minorities in Texas face some combination of the following in

order to obtain photo identification and preserve their right to vote: 1) potential

loss of wages, on an already unreliable low income, from unpaid time off work; 2)

difficulties with transportation and relative social and economic isolation; 3) health,

age-related impediments and possibly disability problems; and 4) requirement to

safely transport original documents or new ones and prevent their loss through

theft, accident, or mistakes on the part of others, including service providers and

eligibility caseworkers. Many poor Texan voters, disproportionately minority, will

postpone or forego the challenge of obtaining the necessary photo identification

since it is of little immediate benefit to their lives or those of their family members.

The law demands that Texan voters present photo identification to vote in person.

Low-income minority voters, who already experience difficulties with

documentation in general and who are less likely to already have the photo

documentation required by SB 14 in particular, will face significant obstacles to

procure the documentation required by SB 14.




46 Amy Blank Wilson. “It Takes ID to Get ID: The New Identity Politics in Services,”

Social Service Review 83 (1): 111 – 132 (2009)


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       60.    Based on this review of the literature, policies, and data, I conclude

that poorer Texans of racial and ethnic minorities who do not already possess an

acceptable and current form of photo identification disproportionately face burdens

under SB 14 in obtaining one.




I declare under penalty of perjury that the aforementioned is true and correct to the
best of my knowledge.


                                                 Executed this 27th day of June 2014.




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VI.   Appendix: Curriculum Vitae



                             JANE M. HENRICI, PH. D.
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                            Washington, D.C. 20017
                      202/258-8886/jmhenrici@gmail.com

EDUCATION
Ph.D. University of Texas at Austin, Anthropology, 1996
M.A. University of Chicago, 1981
B.A. University of Texas at Austin, Cum Laude, 1979
      Southern Methodist University, 1976–77

CORE COMPETENCIES
Twenty years research experience
including eight years managing large-        Accomplished public speaker for U.S.
scale projects, with excellent data          and international panel discussions on
analysis and report writing skills           poverty, race and ethnicity, gender,
                                             health, trade, development, and
Field experience at national,                disaster
community, and organizational levels
within developing nations and across         Fluent in Spanish, at professional level
the United States

SELECT PROFESSIONAL EXPERIENCE
Research
Independent Consultant, Present. Senior researcher and advisor on mainstreaming
gender, and race and ethnicity; specialties in issues of livelihood development,
displacement, disasters, poverty, and policy

Study Director, Institute for Women’s Policy Research, 2008-2013. Supervised and
conducted research and analysis independently and in group projects on gender,
development, disparity, and policy; authored and co-authored reports and
publications including policy recommendations; prepared grants, legislative, media
and other communication; served on review committees and worked with outside
researchers, policymakers, academics, and advocates; specialization in qualitative
and mixed methods; responsibilities included:
• Conducted qualitative field research and co-authored published report for a
   mixed methods study about NGOs and faith-based organizations working to
   assist Latin American immigrant women in three U.S. urban areas; funded by the
   Ford Foundation; conducted interviews in English and in Spanish
• Supervised and conducted desk-based research, and authored and co-authored
   published reports and materials for immigration and labor policy advocates,
   regarding career development and visa issues among immigrant women in-
                                        34
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    home care workers in the United States; funded by Ms. Foundation, Open Society
    Foundations, and the Annie E. Casey Foundation
•   Supervised and conducted multi-year field research with African American
    women tenants of New Orleans public housing and Hurricane Katrina; co-
    authored fact sheets, a book chapter; authored funder’s report; analyzed data
    within context of U.S. disaster, urban planning, and social safety net policies and
    authored report for publication currently under review; funded by the Bill &
    Melinda Gates Foundation as a Social Science Research Council (SSRC) Katrina
    Task Force project
•   Directed team that coded all focus group data across 19 nations for the World
    Bank’s “World Development Report 2012: Gender Equality and Development;”
    subcontracted by World Bank
•   Directed IWPR team in partnership with International Foundation for Electoral
    Systems (IFES) team in original field survey design and analysis, report
    publication, and in-country presentations on the status of women in the Middle
    East and North Africa; co-authored capacity-building toolkit for NGOs to improve
    policy using status of women research; funded by Canadian International
    Development Agency
•   Conducted expert interviews for analysis of and recommendations concerning
    best practices in postsecondary education programs helping low-income student
    parents in United States; funded by Bill & Melinda Gates Foundation
•   Managed portion of focus group study examining barriers to women running for
    high-level elected offices; funded by Hunt Alternatives Fund

Principal Investigator, George Washington University Grants, Global Gender
Program, Elliott School of International Affairs and International Institute of
Tourism Studies, June 2013. Conducted open-ended interviews with government
and NGO representatives, and with low-income women across multiple
communities, on post-disaster development following the 2007 earthquake along
Peru’s southern coast as part of a proposed larger study

Principal Investigator, Faculty Research Grants, Office of Vice-Provost for Extended
Programs, University of Memphis, 2006–2007. Evaluated nonprofit job training and
housing programs to assist low-income African American and immigrant Latina
women; conducted preliminary study of communities to be impacted by NAFTA
highway expansion in Tennessee; conducted interviews in English and in Spanish

Visiting Fulbright Scholar, J. William Fulbright Foreign Scholarship Board Award,
2006. Interviewed Peruvian NGOs assisting women through development tourism
and handicraft export, investigated potential effects of Peru-US Trade Agreement on
small-scale producers; conducted interviews in Spanish

Research Scientist, Pennsylvania State University, John D. and Catherine T.
MacArthur Foundation, University of Texas at Austin Center for Social Work
Research, Robert Wood Johnson Foundation sub-contracts, 2002 and 2003.

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Analyzed longitudinal qualitative material and published with analyses of multi-
wave quantitative data, from Boston, Chicago, and San Antonio for “Welfare,
Children, & Families: A Three-City Study,” on conditions related to changes in U.S.
social safety net policies affecting low-income women and their households;
supervised San Antonio follow-up interviews and qualitative data management

Research Scientist and Postdoctoral Research Fellow, “Welfare, Children, and
Families: A Three-City Study,” University of Texas at Austin Population Research
Center, Center for Social Work Research, 1998–2001. Managed San Antonio site for
interdisciplinary and longitudinal research project; conducted qualitative
ethnographic research with low-income women, less than half of whom were
receiving TANF (cash welfare) and the other portion were income-eligible although
not enrolled, and with local private nonprofit organizations and government
agencies; trained and supervised teams of graduate and undergraduate students in
interview methods, ethnographic theory, and QSR NVivo coding and analysis;
following fellowship (1998-2000), hired as research scientist (2000-2001);
conducted interviews in English and in Spanish

Contract Field Researcher, University of Texas at Austin Center for the Study of
Human Resources and Lyndon B. Johnson School of Public Affairs, 1996–1997.
Interviewed low-income adults on Food Stamp use for published report; conducted
interviews in English and in Spanish

Contract Ethnographer, “Minority Math and Science Education Cooperative,” Texas
Higher Education Authority, 1991–1992. As part of a statewide study, residing for
three-month periods within homes in two working-class neighborhoods in a U.S.-
Mexico border city; conducted ethnographic project inside classrooms and homes
interviewing citizen and non-citizen elementary school students, their parents, and
their teachers; conducted interviews in English and in Spanish

Consulting
Technical Consultant, Solimar International advisor, June 2014. Advised on social
justice/gender mainstreaming project innovation and design within sustainable
business development in the nation of Jordan

Technical Consultant, Health Policy Project (Futures Group)/U.S. Agency for
International Development and the President’s Emergency Plan for AIDS Relief, May
2014. Advised on gender-responsive health governance, policy, and implementation

Technical and Research Consultant, American Planning Association/Centers for
Disease Control and Prevention, 2012-2013. Advised on gender and other aspects of
inclusion and diversity within city planning, and on study design and qualitative
research methods; served as reviewer on report, Integrating Health Into the
Comprehensive Planning Process: An analysis of seven case studies and
recommendations for change, by Anna Ricklin and Nick Kushner


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Training
Lawry Research Associates International, 2013. Conducted training workshop on
qualitative data coding and analysis

Mathematica Policy Research, Inc., 2000. Prepared quantitatively trained professional
researchers in ethnographic research methods

Teaching and Advising
Professorial Lecturer, George Washington University Elliott School of International
Affairs and Global Gender Graduate Program, 2012–present

Graduate Committee Faculty, University of California-Los Angeles Department of
Political Science, 2011-2014

Lecturer and Graduate Committee Faculty, George Mason University Department of
Anthropology, 2008

Assistant Professor, University of Memphis Department of Anthropology and
Honors Program, 2001–2008

Visiting Fulbright Scholar, Catholic University of Peru Department of Anthropology
and Graduate Program in Gender Studies, 2006

SELECT PUBLICATIONS
Peer-reviewed Books
2006 Editor, Doing Without: Women and Work after Welfare Reform, Tucson:
   University of Arizona

2006 (with Ronald Angel and Laura Lein) Poor Families in America’s Health Care
   Crisis: How the Other Half Pays, New York: Cambridge University; Choice 2007
   Outstanding Academic Title

Peer-reviewed Book Chapters and Articles
2014 Disasters, Gender, and Policy, in International Encyclopedia of the Social and
   Behavioral Sciences, 2nd edition, edited by James Wright, Elsevier, submitted and
   under review

2014 Seeking Equilibrium: Gender, Ethnicity, and Race within Alternative Trade and
   Tourism Development, in Towards a Publicly Relevant Anthropology, edited by
   Elisabeth Tauber and Dorothy Zinn, Bozen Bolzano University, under revision
   and forthcoming

2012 (with Allison Suppan Helmuth and Angela Carlberg) Doubly Displaced:
   Women, Public Housing, and Spatial Analysis after Katrina, in The Women of
   Katrina: How Gender, Race, and Class Matter in an American Disaster, edited by
   Emmanuel David and Elaine Enarson, Vanderbilt University, pp. 142-154
                                         37
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2010 Free Trade, Alternative Trade, and Women in Peru: A First Look. In Gender and
   Globalization: Patterns of Women’s Resistance, edited by Erica G. Polakoff and
   Ligaya Lindio-McGovern, Whitby, Ontario: de Sitter Publications; reprint of2007
   Free Trade, Alternative Trade, and Women in Peru: A First Look, Journal of
   Developing Societies; 23: 145–157

2010 Naming Rights: Ethnographies of Fair Trade, In Fair Trade and Social Justice:
   Global Ethnographies, edited by Sarah Lyon and Mark Moberg. New York: New
   York University, pp. 283-298

2007 Género, Turismo y Exportación: ¿Llamando a la plata en el Perú?
   Antropológica. XXV (25): 83-101

2007 (with Laura Lein and Ronald Angel) Women and Children and the Health Care
   Gap, In Child Poverty in America Today, Vol. 4: Children and the State, edited by
   Barbara A. Arrighi and David J. Maume, Westport, CT: Praeger, pp. 56–70

2006 Agents of Change: Nonprofit Organization Workers following Welfare Reform,
   In Doing Without: Women and Work after Welfare Reform, Tucson: University of
   Arizona, pp. 172–189

2006 (with E. Carol Miller) Work First, Then What? Families and Job Training after
   Welfare Reform, In Doing Without: Women and Work after Welfare Reform,
   Tucson: University of Arizona, pp. 64–80

2006 (with Laura Lein and Ronald Angel) Women after Welfare Reform. In Doing
   Without: Women and Work after Welfare Reform, Tucson: University of Arizona,
   pp. 1–19

Policy Briefs, Fact Sheets, and Reports
2013 “Improving Career Opportunities for Immigrant Women In-Home Care
   Workers,” IWPR #I925

2013 (with Cynthia Hess) “Increasing Pathways to Legal Status for Immigrant In-
   Home Care Workers,” IWPR #I924

2012 “Community College Partnerships for Student and Career Success: Program
   Profile of Carreras en Salud,” IWPR #C397

2012 (with Jennifer Herard, Kevin Miller, and Barbara Gault) “Low Literacy Means
   Lower Earnings, Especially for Women,” IWPR #C392

2010-2011 (with multiple authors) Topic briefs on the Status of Women in the
   Middle East and North Africa on Morocco, Yemen, and Lebanon, IWPR and
   International Foundation for Electoral Processes
                                         38
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2011 (with Cynthia Hess and Claudia Williams) “Organizations Working with Latina
   Immigrants: Resources and Strategies for Change,” IWPR, #1922

2010 (with Allison S. Helmuth, Frances Zlotnick, and Jeff Hayes) “Women in Poverty
   During the Great Recession: Public Benefits Do Not Always Respond to Rising
   Need, Variation Across States is Substantial,” IWPR, #D493

2010 (with Allison S. Helmuth) “Women in New Orleans: Race, Poverty, and
   Hurricane Katrina,” IWPR, #D490

2010 (with Allison S. Helmuth and Rhea Fernandes) “Mounting Losses: Women and
   Public Housing after Hurricane Katrina,” IWPR, #D491

2010 (with Allison S. Helmuth and Jackie Braun) “Women, Disasters, and Hurricane
   Katrina,” IWPR, #D492

2001 (with Ronald Angel, Laura Lein, and Emily Leventhal) Health Insurance
   Coverage for Children and Their Caregivers in Low–income Urban
   Neighborhoods, for Welfare, Children and Families: A Three-City Study Policy
   Brief 01–2, Johns Hopkins University

2001 (with Andrew Cherlin, Linda Burton, Judith Francis, Laura Lein, James Quane,
   and Karen Bogen) Sanctions and Case Closings for Noncompliance: Who Is
   Affected and Why, for Welfare, Children and Families: A Three-City Study Policy
   Brief 01–1, Johns Hopkins University

2001 (with Andrew Cherlin, Paula Fomby, Ronald Angel) Public Assistance Receipt
   among Native-Born Children of Immigrants, for Welfare, Children and Families:
   A Three-City Study Policy Brief 01–3, Johns Hopkins University

Book Reviews
2014 (with Allison Suppan Helmuth) Driven from New Orleans: How Nonprofits
   Betray Public Housing and Promote Privatization, by John Arena, University of
   Minnesota Press, 2012. Sociological Inquiry, in press

2012 Unveiling Secrets of War in the Peruvian Andes. Olga M. González. Chicago:
   University of Chicago Press, 2011. Visual Anthropology Review, 28(1): 78-79

2011 Capitalizing on Catastrophe: Neoliberal Strategies in Disaster Reconstruction,
   edited by Nandini Gunewardena and Mark Schuller, American Ethnologist 38(4):
   848-849

2000 Cultural Tourism: A Strategic Focus, by Alf H. Walle, Practicing Anthropology,
   22(3): 4


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Toolkit
2012 (with Denise Baer, Layla Moughari, and Barbara Gault) Using Research on the
   Status of Women to Improve Public Policies in the Middle East and North Africa: A
   Capacity-Building Toolkit for Nongovernmental Organizations. Washington, DC:
   IFES and IWPR

Other
2010 A Gendered Response to Disaster: In the Aftermath of Haiti’s Earthquake.
   Anthropology News 51(7): 5

2006 (with Polly Spiegel). The Non-Public Process of a US Interstate Highway
   Corridor, Society for the Anthropology of North America column, Anthropology
   News, March

2004 Training them to Take It: Research on Job Training for Low-Income Women in
   the US, Standpoint, Center for Research on Women, University of Memphis,
   March

2002 US Women and Poverty, Voices –Association for Feminist Anthropology Special
   Issue, edited by Sandra Morgen, pp. 27–31

SELECT HONORS AND AWARDS
2011      Listed as Woodrow Wilson International Center for Scholars Expert,
          Gender
2007      Poor Families in America’s Health Care Crisis named one of the Choice
          Outstanding Academic Titles for 2007
2007      Honorable Mention, 2006 Susan Koppelman Best Anthology, Multi-
          Authored or Edited Book in Feminist Studies in Popular/American
          Culture, Popular/American Culture Association, for Doing Without:
          Women and Work after Welfare Reform
2006      Visiting Scholar Award, J. William Fulbright Foreign Scholarship
          Board, for project “Gender and Free Trade: Peruvian Alternative
          Trading Projects and Free Trade Agreements,” Peru
2005–2006 Distinguished Faculty Teaching Award Finalist, University of Memphis
2006-     Phi Beta Delta Honor Society for International Scholars
2003–2009 Research Affiliate Status, Center for Research on Women, University
          of Memphis
1989–     Phi Kappa Phi Academic Honor Society (Life Membership)

SELECT GRANTS AND CONTRACTS
Institutional External Funding
2010–2013 Project Director, proposal co-author, multiple grants and contracts to
              IWPR
2006–2007 Co-Principal Investigator, written into Community Foundation of
              Greater Memphis Community Grant, to Memphis Area Women’s
              Council Workforce Action Collaborative
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2005          Faculty Exchange Award, Regional Educational Network Between the
              European Union and the United States (RENEUUS), for “Gender,
              Tourism and Free Trade”
2005          Faculty Exchange Award, University Center for International Studies,
              Center for the Study of the American South, and The Rockefeller
              Foundation, “Navigating the Globalization of the American South”
              Conference, University of North Carolina-Chapel Hill
2003          Research Scientist, “Welfare, Children and Families: A Three-City
              Study,” sub-contracted with the University of Texas Center for Social
              Work Research under grant from The Robert Wood Johnson
              Foundation
2002          Research Scientist, “Welfare, Children and Families: A Three-City
              Study,” sub-contracted with Pennsylvania State University under
              grant from The John D. and Catherine T. MacArthur Foundation
2000–2001     Research Scientist, “Welfare, Children and Families: A Three-City
              Study,” sub-contracted with the University of Texas Center for Social
              Work Research under grant from The Robert Wood Johnson
              Foundation
1998–2000     Postdoctoral Research Fellowship, Hogg Foundation Award, The
              University of Texas at Austin Population Research Center/Center for
              Social Work Research

Institutional Internal Funding
2013          Principal Investigator, “Gender, Race, and Tourism Development in
              Disaster Recovery,” Research Grants from Global Gender Program,
              Elliott School of International Affairs, and International Institute of
              Tourism Studies, School of Business, of The George Washington
              University
2006          Principal Investigator, Faculty Research Grant, The Office of Vice-
              Provost for Extended Programs, University of Memphis, for “Women
              and Memphis Workforce Development”
2005–2006 Principal Investigator, Benjamin L. Hooks Institute for Social Change
              Working Group Grant, with Steve Scanlan, for “North American
              Research and Action Network: 2005 Web Focus,” public access and
              education
2005          Faculty Exchange Award, Center for Research on Women, University
              of Memphis, “Imagining Public Policy to Meet Women’s Economic
              Security Needs” Conference, CCPA/Simon Fraser University,
              Vancouver, British Columbia, Canada
2005          Faculty Exchange Award, Center for Research on Women, University
              of Memphis, “Women and Globalization” Conference, San Miguel de
              Allende, Mexico

SELECT CONFERENCE AND SYMPOSIA PRESENTATIONS
“Gender and Migration in U.S. Planning: Recognizing Problems and Improving
Responses,” on Hosted Organized Session “Overcoming Gender Bias in Immigrant
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Communities,” American Planning Association 2014 National Planning Conference,
Atlanta, 27 April 2014

“Gender and Race Post-Disaster in Peru: Resilience, Recovery, and Research,"
Institute for Global and International Studies Sandwich Symposium, Elliott School of
International Affairs, George Washington University, 24 October 2013

“Post-Disaster Organizing to Help Women Across the Americas: Resilience, Recovery
and Research,” 63rd Society for the Study of Social Problems Annual Meeting, New
York, 11 August 2013

“Research on Women in the Middle East and North Africa & The Arab Spring:
Findings from Gender Surveys in Lebanon, Morocco, and Yemen and Electoral
Surveys in Egypt and Tunisia,” with Rola Abdul-Latif, Middle East Dialogue,
International Policy Studies Organization, Washington, DC, 24 February 2012

“Gender and Disaster across the Americas,” 4th Annual Lozano Long Conference,
“From Natural Events to Social Disasters in the Circum-Caribbean,” Lozano Long
Institute for Latin American Studies, University of Texas at Austin, Austin, 25
February 2011

“Intersectional Policy: Gender, Race and Ethnicity Meet Immigrant Status,” on
Organized Session “The Racialization of Latinos: Everyday Lived Experiences Of
Discrimination,” Patricia Foxen, Organizer, 110th Annual meeting of American
Anthropological Association, Montreal, 16-20 November 2011

“After the Flooding of New Orleans: Women, Public Housing, Transportation, and
Disasters,” on Invited Organized Session, American Educational Research
Association Annual Meeting, New Orleans, 8-12 April 2011

“Organizations Working with Latina Immigrants: Resources and Strategies for
Change,” report release co-speaker, Institute for Women’s Policy Research-National
Council of La Raza-Wilson Center Joint Symposium, at Woodrow Wilson
International Center for Scholars, Washington, DC, 25 March 2011

“’You’ve Got to Tell Them’: Research with Women Displaced from New Orleans
Public Housing,” on Organized Session with Executive, Engaging Anthropology, and
Association for Feminist Anthropology Invited Status, “Doubly Displaced: Women
and Public Housing after the New Orleans Post-Katrina Flood,” 109th Annual
Meeting of the American Anthropological Association, New Orleans, 17-21
November 2010

“Gender and Disaster in the Americas,” on Organized Session Invited by Society for
Latin American and Caribbean Anthropology, “Conversations across the Americas,”
Ramona Perez, Organizer/Chair, 109th Annual Meeting of American Anthropological
Association, New Orleans, 17-21 November 2010
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“New Families, New Friends: Gaps in Support Services for Latina Immigrants,” Latin
American Studies Association International Congress, Toronto, 6-9 October 2010

“Space in the City: Women, Public Housing, and Urban Planning after Katrina,” at
symposium “Hurricane Katrina: Bringing Hurricane Katrina Research Back to the
Community,” Center for Policy and Resilience Conference, University of Southern
Mississippi Gulf Coast, Long Beach, 4-5 June 2010

“Revolving Funds: Peruvian Women Migrants as Workers, Entrepreneurs, and
Tourists,” on Organized Session, “From Remitting Migrants to Market-Savvy
Entrepreneurs: Reconceptualizing Diaspora and Development,” Caroline Melly and
Monica DeHart, Co-Organizers/Chairs, 107th Annual Meeting of American
Anthropological Association, San Francisco, 19-23 November 2008

“Peruvian Women, Free Trade Agreements, and Alternative Trade: A New Look”
with Organized Session Co-Invited by Society for Urban, National and
Transnational/Global Anthropology and Association for Political and Legal
Anthropology, “NGOs as Agents of Globalization,” Mark A. Schuller, Organizer/Chair,
105th Annual Meeting of American Anthropological Association, San Jose, California,
15–19 November 2006

“El Género, la Exportación, y el Turismo: Nuevos Cambios” Fulbright Commission
and Catholic University of Peru Department of Social Sciences, Lima, Peru, 6 July
2006

“Gender and Free Trade: Alternative Trade Organizations and Women in Peru” on
Organized Session, “Fair Trade/Free Trade: Alternatives and Realities in Cross-
Cultural Perspective,” Sarah M. Lyon, Organizer/Chair, 104th Annual Meeting of
American Anthropological Association, Washington, DC, 30 November–4 December
2005

“Learning to be Poor: Job Training and Women in the US,” “Imagining Public Policy
to Meet Women’s Economic Security Needs” Conference, CCPA/Simon Fraser
University, Vancouver, 14-15 October 2005

“Exchanges South and North: Collaboration and Communication and the
NGO/Nonprofit Sector,” on Organized Session “NGO Research: Methodological and
Ethical Challenges,” Nathalie Lebon, LeeRay Costa, and Donna Murdock, Co-
Organizers/Chairs, 101st Annual Meeting of the American Anthropological
Association, New Orleans, 20-24 November 2002

“Neighborhood Organizations and the People Who Use Them: A Spatial
Consideration of Welfare Reform,” with James Quane, Pamela Joshi, and Gwendolyn
Dordick, on Invited Session, “Not by Jobs Alone: Families, Neighborhoods, and
Welfare Reform,” Linda M. Burton and William Julius Wilson, Co-Organizers, Annual
                                        43
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Meeting of American Sociological Association, Chicago, 16-19 August 2002

“Health Insurance Coverage for Vulnerable Children in the Context of Welfare
Reform,” co-presenter with Ronald Angel and Laura Lein, with organized poster
symposium, “The Three-City Study of Welfare, Children, and Families: A
Multidisciplinary Approach for Science to Influence Policy,” Lindsay Chase-
Landsdale, Organizer, Biennial Meeting of Society for Research in Child
Development, Minneapolis, 19-22 April 2001

“Women, Wages, and Motherhood within Welfare Reform,” co-author Laura Lein,
with Organized Session, American Anthropological Association 100th Annual
Meeting, Washington, DC, 28 November–2 December 2001

“Women’s Studies and Research on Poverty,” Women’s Studies Symposium,
“Women’s Studies Scholarship at the University of Memphis,” University of
Memphis, 5 October 2001

“Health Insurance Coverage for Vulnerable Children in the Context of Welfare
Reform,” co-presenter with Ronald Angel and Laura Lein, with organized poster
symposium, “The Three-City Study of Welfare, Children, and Families: A
Multidisciplinary Approach for Science to Influence Policy,” Lindsay Chase-
Landsdale, Organizer, Biennial Meeting of Society for Research in Child
Development, Minneapolis, 19–22 April 2001

“Being Blamed: Women and Local Responses to Welfare-To-Work,” with Organized
Session, “Engendered Economies: Women and Alternative Organizations in the
Americas,” Society for Latin American Anthropology Annual Meeting/Latin
American Studies Association Semi–Annual Meeting, Miami, 16–18 March 2000,
with Organized Session, “Engendered Economies: Women and Alternative
Organizations in the Americas” Invited by Association for Feminist Anthropology,
American Anthropological Association 98th Annual Meeting, Chicago, 17–21
November 1999

“A Three-City Ethnography,” with Organized Session, “Combining Qualitative and
Quantitative Data in Impact Evaluations of Welfare Reform,” Twenty-first Annual
Association for Public Policy Analysis and Management Research Conference,
Washington, DC, 4–6 November 1999

INVITED LECTURES
“Caring for Workers and Workers Who Care: Gender and Migration Issues in U.S.
Policy and Planning,” Institute for Immigration Research Colloquium presentation
and webcast, George Mason University, 29 January 2014

“Working Together: Low-Income Latina Immigrants, Service Organizations, and
Northern Virginia,” Smithsonian Cultural Center presentation and webcast,
Washington, DC, 5 December 2012
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“Research and Resilience,” George Washington University’s Global Gender Program
and World Bank’s Global Facility for Disaster Reduction and Recovery (GRDRR)
event, “Women and Girls: Forces for Creating Disaster-Resilient Societies,”
Washington, DC, 11 October 2012

“Anthropology and Policy: Poverty and Reform in the United States,” and
“Rethinking Fair Trade: Gender and Ethnicity within Transnational Handicraft
Exchanges,” at the Free University of Bozen-Bolzano, Italy, 8 and 9 October 2012

“Dangerous Intersections: Issues of Identity and Disaster Policy,” Department of
Women’s Studies, San Diego State University, CA, 19 October 2011

“Disasters and the Intersections of Race, Gender, and Class Across the Americas,”
Trevor W. Purcell Lecture, Department of Anthropology, University of South Florida,
FL, 13 April 2011

“Ethnicity, Gender, Trade, and Tourism: Shifting Identities and Peru,” Critical Race
Studies, Benjamin L. Hooks Institute Working Group, University of Memphis, 30
October 2006

“Gendered Transnational Processes,” Symposium on “National and International
Migration: Implications for the Sending and Receiving Zones,” Catholic University of
Peru Graduate School of Social Sciences, Lima, Peru, 30–31 March 2006

“El Género y la globalización,” International Economics, College of Communication
Faculty of Universidad Pontificia de Salamanca, Spain, 10 May 2005

Keynote Speaker, Executive Directors’ Roundtable, “Women after Welfare Reform,”
United Neighborhood Centers of America, Inc., San Antonio, TX, 11 February 2000

SELECTED SERVICE
Listed Expert, Woodrow Wilson International Center for Scholars, 2011-present

President, 2011-2013; President-Elect, Association for Feminist Anthropology, 2009–
2011; Executive Board Member, Association for Feminist Anthropology, 2006–2008

Council Member, Society for Latin American and Caribbean Anthropology, 2009-
2012

Proposal Reviewer, Rockefeller Foundation Bellagio Scholarly Residency
Competition, 2008

Advisory Committee Member and Program Evaluator, Mi Techo non-profit
organization assisting low-income Latin American immigrants with housing issues,
2005–2007
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Advisory Committee Member and Program Evaluator, La Maestra, non-profit
organization providing English-as-a-Second-Language classes to low-income recent
Latin American immigrants, 2003–2007

Grant Proposal Reviewer, Social Science and Humanities Research Council of Canada,
Special (three-year) Research Opportunity Program for Professors, 2006

Grant Proposal Reviewer, United States Social Science Research Council and
American Council of Learned Societies International Dissertation Field Research
Fellowship Program 2003, 2004, 2005

PROFESSIONAL MEMBERSHIPS
American Anthropological Association         Gender and Disaster Network
and sections:                                Latin American Studies Association
 Association for Feminist                    and sections:
   Anthropology; Society for the              Ethnicity, Race, Indigenous Peoples;
   Anthropology of North America;               Gender and Feminist Studies
   Society for the Anthropology of              Section
   Work; Society for Economic                 Latino Studies; Peru
   Anthropology; Society for Latin           NGOs and Anthropology Group
   American and Caribbean                    Society for Applied Anthropology
   Anthropology; Society for Urban,          Society for International
   National, and                              Development, Washington, DC
   Transnational/Global                      Washington Association of
   Anthropology; Society for Visual           Professional Anthropologists
   Anthropology




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